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IN THE UNITED STATES DISTRICT COURT hep
FOR THE DISTRICT OF PUERTO RICO IEF foe ae ;

 

UNITED STATES OF AMERICA,
Plaintiff,

CRIMINAL NO.. 16-618 (CCC)

RUBEN RUMAR VALDES-ROSARIO,

 

 

Defendant.
PLEA AND FORFEITURE AGREEMENT
(Pursuant to Fed. R. Crim. P. 11(c)(1)(B))
TO THE HONORABLE COURT:

COMES NOW, the United States of America, by and through its attorneys for the District
of Puerto Rico: Rosa Emilia Rodriguez-Vélez, United States Attorney, Timothy Henwood, First
Assistant United States Attorney, Jenifer Y. Hernandez-Vega, Assistant United States Attorney
and Chief, Violent Crimes Unit, and Marie Christine Amy, Assistant United States Attorney, along
with the defendant, Ruben Rumar Valdes-Rosario, and his counsel, Isabelle C. Oria-Calaf, Esq.,
and pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), state to this Honorable Court that
they have reached a Plea and Forfeiture Agreement, the terms and conditions of which are as

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follows:

1. COUNTS TO WHICH DEFENDANT PLEADS GUILTY

The defendant agrees to plead guilty to Counts Two and Four of the Indictment, a violation of
18 U.S.C. §924(c) and 21 U.S.C. § 841(a)(1), respectively.

Count Two:

On or about September 28, 2016, in the District of Puerto Rico and within the jurisdiction of

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this Court, Ruben Rumar Valdes-Rosario, the defendant herein, did knowingly possess a firearm, that
is, a rifle, model OA-93, .223 caliber bearing serial number OAP-0336 with Barrel #SS-556; a SAIG
rifle, model 308-1, 7.62 caliber bearing serial number H04740011 made in Russia by IZHMASH,
Bold Carrier #40011; a Glock pistol, .40 caliber, model 22, bearing serial number PEG-063; a Glock
pistol, .40 caliber, model 22, bearing serial number DPV-920 and, a Glock pistol, .45 caliber, model
308, bearing serial number BBMU-824, in furtherance of a drug trafficking crime for which he may
be prosecuted in a Court of the United States, as set forth in Counts Four and Five of this Indictment.
All in violation of 18 U.S.C. § 924(c)(1)(A).

Count Four:

On or about September 28, 2016, in the District of Puerto Rico and within the jurisdiction of
this Court, Ruben Rumar Valdes-Rosario, the defendant herein, did knowingly and intentionally
possess with intent to distribute a mixture or substance containing a detectable amount of cocaine base

“crack’’), a Schedule II Controlled Substance. All in violation of 21 U.S.C. §§ 841(a)(1).

2. STATUTORY MAXIMUM PENALTIES

Pursuant to 18 U.S.C. § 924(c)(1)(A)Q@), the penalty range for Count Two of the Indictment, a
class A felony under 18 U.S.C. § 3559(a)(1), is a minimum term of imprisonment of five (5) years and
a maximum term of life imprisonment. See United States v. Ortiz-Garcia, 665 F.3d 279, 283 (1 st Cir,
2011). Pursuant to 18 U.S.C. § 3571(b)@), a fine of up to two-hundred and fifty thousand dollars
($250,000.00) may be imposed; a supervised release term of not more than five (5) years may be
imposed under 18 U.S.C. § 3583(b)(1); and a Special Monetary Assessment of one hundred dollars

($100.00).

The maximum statutory penalty for the offense charged in Count Four of the Indictment, a

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class C felony under 18 U.S.C. §3559(a)(3) is: pursuant to 21 U.S.C. §841(b)(1)(C), a term of
imprisonment of not more than twenty (20) years; pursuant to 21 U.S.C. §841(b)(1)(C) a fine not to
exceed $1,000,000.00 dollars; pursuant to 21 U.S.C. §841(b)(1)(C), a supervised release term of at
least three (3) years; and pursuant to 18 U.S.C. §3013(a)(2)(A), a Special Monetary Assessment of
one hundred dollars ($100.00).

3. SENTENCING GUIDELINES APPLICABILITY

The defendant understands that the sentence will be left entirely to the sound discretion of the
Court in accordance with 18 U.S.C. §§ 3551-86, and the United States Sentencing Guidelines
(hereinafter “Guidelines”), which have been rendered advisory by the United States Supreme Court
decision in United States v. Booker, 543 U.S. 220 (2005). Further, the defendant acknowledges that
parole has been abolished and that the imposition of his sentence may not be suspended.

4, SPECIAL MONETARY ASSESSMENT

The defendant agrees to pay a special monetary assessment of one hundred dollars ($100.00),
per count of conviction, to be deposited in the Crime Victim Fund, pursuant to 18 U.S.C. §
3013(a)(2)(A).

5. FINES AND RESTITUTION

The defendant is aware that the Court may, pursuant to U.S.S.G. § 5E1.2, order him to pay a
fine sufficient to reimburse the government for the costs of any imprisonment, probation, or supervised
release ordered. The Court may also impose restitution. The United States will make no

recommendations as to the imposition of fines and restitution.

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6. RULE 11(c)(1)(B) WARNINGS
The defendant is aware that his sentence is within the sound discretion of the sentencing judge :
and of the advisory nature of the Guidelines, including the Guidelines Policy Statements, Application,
and Background Notes. Further, the defendant understands and acknowledges that the Court is not a
party to this Plea and Forfeiture Agreement and thus, is not bound by this agreement or the sentencing
calculations and recommendations contained herein. The defendant specifically acknowledges that the
Court has jurisdiction and authority to impose any sentence within the statutory maximum set for the
offense to which the defendant is pleading guilty. The defendant is aware that the Court may accept
or reject the Plea and Forfeiture Agreement, or may defer its decision whether to accept or reject the’
_ Plea and Forfeiture Agreement until it has considered the pre-sentence investigation report. See Fed.
R. Crim. P. 11(c)(3)(A). Should the Court impose a sentence up to the maximum established by statute,
the defendant cannot, for that reason alone, withdraw his guilty plea, and will remain bound to fulfill
all of the obligations under this Plea and Forfeiture Agreement. See Fed. R. Crim. P. 11(c)(3)(B).
7. APPLICABILITY OF UNITED STATES SENTENCING GUIDELINES
(A The defendant is aware that pursuant to the decision issued by the Supreme Court of the
/
Y U United States in the case of United States v. Booker, 543 U.S. 220 (2005), the Guidelines are no
longer mandatory and must be considered effectively advisory. Therefore, after due consideration
of the relevant factors enumerated in 18 U.S.C. § 3553(a), the United States and the defendant

submit the following advisory Guideline calculations:

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USSG. § 2D1.1(a)(5)

 

 

 

 

Acceptance of Responsibility, U.S.S.G. § 3E1.1

10 006-012 008-014 010-016 015-021 021-027 024-030

 

 

 

8. NO STIPULATION AS TO CRIMINAL HISTORY CATEGORY

The parties do not stipulate as to any Criminal History Category for Defendant.

9, SENTENCE RECOMMENDATION

After due consideration of all factors in 18 U.S.C. § 3553(a) and taking into account that
Count One will be dismissed, which comes with a mandatory minimum sentence of 30 years of
imprisonment, the parties agree that as to Count Two the defendant may recommend a sentence of
no less than 84 months of imprisonment and the United States will ask for a sentence of 108 months
imprisonment, to be served consecutively to the sentence imposed for Count Four.

As to Count Four, the parties agree to recommend a sentence of twelve (12) months of

fy (2 imprisonment. The parties agree that any recommendation by either party for a term of

imprisonment of less than 96 months or more than 120 months will constitute a material |
breach of the plea agreement. Defendant agrees that the sentencing recommendation set forth

herein is reasonable pursuant to Title 18, United States Code, Section 3553(a).

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10. WATVER OF APPEAL
Defendant knowingly and voluntarily agrees that, if the imprisonment sentence imposed
by the Court is 120 months of imprisonment or less, the defendant waives the right to appeal any
aspect of this case’s judgment and sentence, including but not limited to the term of imprisonment
or probation, restitution, fines, forfeiture, and the term and conditions of supervised release.
11. NO FURTHER ADJUSTMENTS OR DEPARTURES
The United States and the defendant agree that no further adjustments or departures to the
defendant’s total adjusted base offense level shall be sought. The parties agree that any request by
the defendant for an adjustment or departure will be considered a material breach of this Plea and
Forfeiture Agreement, and the United States will be free to ask for any sentence, either guideline
or statutory.
12. SATISFACTION WITH COUNSEL
The defendant represents to the Court that he is satisfied with counsel, Isabelle C. Oria-
Calaf, and asserts that counsel has rendered effective legal assistance.
(Wy 13. RIGHTS SURRENDERED BY DEFENDANT THROUGH GUILTY PLEA
The defendant understands that by entering into this Plea and Forfeiture Agreement he
(} VW surrenders certain rights as provided in this agreement. The defendant understands that the rights
of criminal defendants include the following:
a. Ifthe defendant had persisted in a plea of not guilty to the charges, he would have
had the right to a speedy jury trial with the assistance of counsel. The trial could be

conducted by a judge sitting without a jury if the defendant, the United States and

the judge agreed.

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b. Ifa jury trial were conducted, the jury would be composed of twelve lay persons
selected at random. The defendant and his attorney would assist in selecting the
jurors by removing prospective jurors for cause where actual bias or other
disqualification were shown, or by removing prospective jurors without cause by
exercising peremptory challenges. The jury would have to agree, unanimously,
before it could return a verdict of either guilty or not guilty. The jury would be
instructed that the defendant is presumed innocent, that it could not convict the
defendant unless, after hearing all the evidence, it was persuaded of his guilt beyond

a reasonable doubt, and that it would have to consider each charge separately.

c. Ifa trial were held by the judge without a jury, the judge would find the facts and,
after hearing all the evidence and considering each count separately, determine

whether or not the evidence established the defendant’s guilt beyond a reasonable

doubt.

| d. Ata trial, the United States would be required to present its witnesses and other
(p U') evidence against the defendant. The defendant would be able to confront those
witnesses and the defendant’s attorney would be able to cross-examine them. In
addition, prior to trial the defendant would be entitled to discovery of material,
impeachment information concerning government witnesses, and defendant would
be entitled to use this information during cross-examination. In turn, the defendant
could present witnesses and other evidence on his own behalf. Ifthe witnesses for
the defendant would not appear voluntarily, he could require their attendance
through the subpoena power of the Coutt.

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e. Ata trial, the defendant could rely on the privilege against self-incrimination to
decline to testify, and no inference of guilt could be drawn from his refusal to
testify. If Defendant desired to do so, he could testify on his own behalf.

14. STIPULATION OF FACTS

The accompanying Stipulation of Facts signed by the defendant is hereby incorporated into
this Plea and Forfeiture Agreement. The defendant adopts the Stipulation of Facts and agrees that
the facts therein are accurate in every respect and, had the matter proceeded to trial, that the United
States would have proven those facts beyond a reasonable doubt.

15. FIREARMS FORFEITURE

Pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), the defendant agrees to forfeit all of
his right, title, and interest in the following property (hereafter, collectively, the “Property”): a rifle,
model OA-93, .223 caliber bearing serial number OAP-0336 with Barrel #SS-556; a SAIG rifle, model
308-1, 7.62 caliber bearing serial number H04740011 made in Russia by IZHMASH, Bold Carrier
#40011; a Glock pistol, .40 caliber, model 22, bearing serial number PEG-063; a Glock pistol, .40
caliber, model 22, bearing serial number DPV-920 and, a Glock pistol, .45 caliber, model 30S, bearing
serial number BBMU-824, and 72 rounds of .40 caliber ammunition, 49 rounds of .45 caliber
ammunition, 70 rounds of 9mm caliber ammunition, 90 rounds of .223 caliber ammunition, 35 rounds
of .308 caliber ammunition, 190 rounds of .22 caliber ammunition. The defendant acknowledges that
he possessed the Property in violation of 18 U.S.C. § 924(c), as set forth in Count Two of the
Indictment, and that the Property is therefore subject to forfeiture to the United States pursuant to 18

U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

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16. LIMITATIONS OF PLEA AGREEMENT

This Plea and Forfeiture Agreement binds only the United States Attorney’s Office for the
District of Puerto Rico and the defendant. It does not bind any other federal, district, state, or local
authorities.

17. ENTIRETY OF PLEA AND FORFEITURE AGREEMENT

This written agreement constitutes the complete Plea and Forfeiture Agreement between the
United States, the defendant, and the defendant’s counsel. The United States has made no promises or
representations, except as set forth in writing in this Plea and Forfeiture Agreement, and denies the
existence of any other term and conditions not stated herein.

18. AMENDMENTS TO PLEA AND FORFEITURE AGREEMENT

No other promises, terms or conditions will be entered unless in writing and signed by all
parties.

19. VOLUNTARINESS OF GUILTY PLEA

The defendant acknowledges that no threats have been made against him and that he is pleading

guilty freely and voluntarily because he is guilty.

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20. DISMISSAL OF REMAINING COUNTS

All remaining counts of the Indictment will be dismissed at sentencing.

  

ROSA EMILIA RODRIGUEZ-VELEZ
we ye Attorney
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Timothy Henwood Isabelle C. Oria-Calaf, Esq.
First Assistant U.S. Attorney Counsel Ab dant
Dated: ¥-%-[ ) Dated: OY: i) 20 {7

 

 

 

Jenifer, Y. Hekn dez-Yena) Ruben Rumar Valdes-Rosario
Assistaat U.S. Attorney Defendant
Chief, Violent Crimes Unit Dated: 0 ‘ 20 , 20 [7

Dated: & 2o1\t

Marie Christine Amy
Assistant United States Attorney

Violent Crimes Unit
Dated: Pharr 1 , wit

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UNDERSTANDING OF RIGHTS
I have consulted with my attorney and fully understand all of my rights with respect to the
Indictment pending against me. Further, I have consulted with my attorney and fully understand my
rights with respect to the provisions of the Sentencing Guidelines, Policy Statements, Application, and
Background Notes which may apply in my case. My attorney has translated the Plea and Forfeiture
Agreement to me in the Spanish language and I have no doubts as to the contents of the agreement. I

have read this Plea and Forfeiture Agreement and carefully reviewed every part of it with my attomey.

I fully understand this Plea and Forfeiture Agreement and voluntarily agrge to it.
) e . — (
Date: 08 . 2D: vn Abus LU ( bbls

Ruben Rumar Valdes-Rosario
Defendant

I am the attorney for the defendant. I have fully explained to the defendant his rights with respect
to the pending Indictment. Further, I have reviewed the provisions of the Sentencing Guidelines, Policy
Statements, Application, and Background Notes, and I have fully explained to the defendant the
provisions of those guidelines which may apply in this case. I have carefully reviewed every part of
this Plea and Forfeiture Agreement with the defendant. I have translated the Plea and Forfeiture
Agreement and explained it in the Spanish language to the defendant who has expressed no doubts as

to the contents of the Plea and Forfeiture Agreement. To my knowledge, the defendant is entering into

consequences of a plea of guilty.

Date: O”- 90 ’ 20) )

 

 

Isabelle C. Oria-Calaf, Esq.
Counsel for Defendant

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STIPULATION OF FACTS

In conjunction with the submission of the accompanying Plea and Forfeiture Agreement in
this case, the United States of America and the defendant, Ruben Rumar Valdes-Rosario, agree that
the following is a true and accurate summary of the facts leading to Defendant’s acceptance of
criminal responsibility for violating 18 U.S.C. §924(c) and 21 U.S.C. §841(a)(1).

On September 28, 2016, the Homeland Security Investigations (HSI) Arecibo Office and the
PRPD Drug Division from Vega Baja executed a state search warrant at residence #17 on Street 5,
Cantito Ward in Manati, PR. Upon executing the search warrant, the agents encountered the
defendant and other individuals, including one minor. PRPD officers verbally advised the defendant
of his constitutional rights, which he acknowledged and voluntarily waived. The defendant then stated
that a backpack located under a table near his dormitory door contained three small pistols and drugs.
The defendant further stated that three rifles were concealed inside a refrigerator behind the residence
of his aunt, which was located in the curtilage area of the residence. As a result, the agents seized the
following items: a rifle, model OA-93, .223 caliber bearing serial number OAP-0336 with Barrel
#SS-556; a SAIG rifle, model 308-1, 7.62 caliber bearing serial number H04740011 made in Russia
by IZHMASH, Bold Carrier #40011; a rifle M-4 with no serial number, a 38 caliber revolver, a
Glock pistol, .40 caliber, model 22, bearing serial number PEG-063; a Glock pistol, .40 caliber, model
22, bearing serial number DPV-920 and, a Glock pistol, .45 caliber, model 30S, bearing serial number
BBMU-824, and 72 rounds of .40 caliber ammunition, 49 rounds of .45 caliber ammunition, 70

rounds of 9mm caliber ammunition, 90 rounds of .223 caliber ammunition, 35 rounds of .308 caliber

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ammunition, 190 rounds of .22 caliber ammunition, and 280 capsules containing crack and 39 baggies
containing marijuana.

Later on the same date, HSI agents also advised the defendant of his constitutional rights,
which he understood and waived. The defendant then told HSI agents that all of the contraband found
in his residence and his aunt’s residence belonged to him. He further told the agents that he purchased
the narcotics for his own drug sale activities. Additionally, the defendant told the agents that the
Glock pistol, .40 caliber, model 22 bearing serial number PEG-063 seized was modified to shoot
automatically because he had tested it before. He admitted to have installed the “chip” in the firearm
and to customarily modified his firearms to shoot automatically after learning how to do it in the
internet. He also admitted that $200 out of $1,200 dollars seized in his residence were proceeds from
his drug selling activities.

The investigation concluded that the controlled substances seized yielded positive to crack-
cocaine among others. The investigation further revealed that no firearms, including the firearms

() seized, are manufactured in the commonwealth of Puerto Rico and therefore the investigation
: Ut concluded the firearms in this case were transported in interstate or foreign commerce.

Had this matter proceeded to trial, the United States would have presented the testimony of
law enforcement agents, as well as physical and documentary evidence, to prove beyond a reasonable
doubt that Ruben Rumar Valdes-Rosario is guilty of violating Title 18, United States Code, Section

924(c) and Title 21, United States Code, Section 841(a)(1).

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Discovery was made available to Defendant in a timely manner for review.

     

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Marie Christine Amy sabelle C. Oria-Calaf, Esq.

Assistant United States Attorney Counsel fog Defenda
Dated: fhigst 4 JUD Dated: 4D. Yo| )
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Ruben Rumar Valdes-Rosario
Defendant

Dated: DK: 30: 20 \9

 

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